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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MARCIANO PLATA, et al.,                              Case No. 01-cv-01351-JST
                                                         Plaintiffs,
                                   8
                                                                                              ORDER RE: MANDATORY
                                                  v.                                          VACCINATIONS
                                   9

                                  10     GAVIN NEWSOM, et al.,                                Re: ECF No. 3647
                                                         Defendants.
                                  11

                                  12
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                                  13           Since the COVID-19 pandemic began, over 50,000 incarcerated persons in California’s

                                  14   state prisons have been infected by the SARS-CoV-2 virus. At least 240 have died from the

                                  15   disease, many more have been hospitalized, and some of those who have survived continue to

                                  16   suffer long-term effects. Defendants have undertaken significant measures to combat the virus,

                                  17   including the provision of masks, physical distancing, disinfection, testing, quarantine and

                                  18   isolation protocols, restrictions on transfers, reducing the population, and making vaccines

                                  19   available to both incarcerated persons and staff on a voluntary basis. But the virus continues to

                                  20   infect the prison population, including incarcerated persons who have accepted the vaccine – one

                                  21   of whom recently died from the disease – and outbreaks create significant risks of harm beyond

                                  22   the risk of infection. Once the virus enters a facility, it is very difficult to contain, and the

                                  23   dominant route by which it enters a prison is through infected staff.

                                  24           Facing these facts, the Receiver has recommended, based on his review of the medical and

                                  25   public health science, that a mandatory COVID-19 vaccination policy be implemented for workers

                                  26   entering CDCR institutions and incarcerated persons who choose to work outside of an institution

                                  27   or accept in‐person visitation. Now before the Court is an order to show cause as to why the

                                  28   Receiver’s recommendations should not be adopted. ECF No. 3647.
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                                   1            The question of mandatory vaccines is complex. In this case, however, the relevant facts

                                   2   are undisputed. No one challenges the serious risks that COVID-19 poses to incarcerated persons.

                                   3   No one disputes that it is difficult to control the virus once it has been introduced into a prison

                                   4   setting. No one contests that staff are the primary vector for introduction. And no one argues that

                                   5   testing, even if done on a daily basis, is an adequate proxy for vaccination to reduce the risk of

                                   6   introduction. While Defendants point to the minority of incarcerated persons who have not yet

                                   7   accepted the vaccine and argue that the best way to protect such individuals is for them to become

                                   8   vaccinated, no one disputes that the risks to the incarcerated population extend to the vaccinated as

                                   9   well as the unvaccinated. All agree that a mandatory staff vaccination policy would lower the risk

                                  10   of preventable death and serious medical consequences among incarcerated persons. And no one

                                  11   has identified any remedy that will produce anything close to the same benefit.

                                  12            Framed in terms of the Eighth Amendment, under which this case arises, Defendants are
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                                  13   aware of a substantial risk of serious harm to incarcerated persons, and, although they have taken

                                  14   many commendable steps during the course of this pandemic, they have nonetheless failed to

                                  15   reasonably abate that risk because they refuse to do what the undisputed evidence requires.

                                  16   Accordingly, the Court will grant the Receiver’s request for an order to implement his

                                  17   recommended vaccine mandates.

                                  18   I.       BACKGROUND

                                  19            Since 2005, the California prison medical care system has been under receivership.

                                  20   COVID-19 is a medical issue that falls within the Receiver’s authority, and the Receiver has

                                  21   appropriately taken a leadership role in guiding Defendants’ pandemic response. Until the dispute

                                  22   over mandatory vaccination, Defendants have followed the Receiver’s recommendations. For

                                  23   example, early in the pandemic, Defendants agreed to implement the Receiver’s cohorting

                                  24   guidelines for achieving and maintaining social distancing. Defendants have also implemented

                                  25   many other measures in conjunction with the Receiver or, where appropriate, exercising their own

                                  26   authority. These measures include several early release programs designed to reduce population

                                  27   density, temporary suspension of both intake and visitation, masking and distancing requirements,

                                  28   advanced cleaning protocols, efforts to improve ventilation, and the development of a centralized
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                                   1   command center and multi-disciplinary teams to oversee response efforts to outbreaks.

                                   2          This is not the first time that this Court, or a companion court, has considered whether to

                                   3   order Defendants to take particular measures in response to the COVID-19 pandemic. Shortly

                                   4   after the pandemic began, Plaintiffs asked the three-judge court convened in this case and

                                   5   Coleman v. Newsom, Case No. 2:90-cv-0520 KJM DB (E.D. Cal.), to order a further population

                                   6   reduction in light of the dangers posed by COVID-19. ECF No. 3219. That court concluded that

                                   7   Plaintiffs’ request was not properly before the three-judge court and denied Plaintiffs’ motion.

                                   8   Coleman v. Newsom, 455 F. Supp. 3d 926 (E.D. Cal./N.D. Cal. 2020). Days after the three-judge

                                   9   court denied relief, Plaintiffs moved this Court for:

                                  10                  an order directing that the population density in the California prison
                                                      system be reduced so that (1) class members at high risk of serious
                                  11                  illness or death from COVID-19 due to their age and/or underlying
                                                      health conditions are safely housed, and (2) the system can respond
                                  12                  to those who become sick and require hospitalization without
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                                                      overloading community health care systems.
                                  13

                                  14   ECF No. 3266 at 9. On April 17, 2020, the Court denied Plaintiffs’ motion after considering

                                  15   Defendants’ early response to the pandemic and concluding that Plaintiffs had not demonstrated

                                  16   an Eighth Amendment violation. Plata v. Newsom, 445 F. Supp. 3d 557, 561-69 (N.D. Cal. 2020).

                                  17   The Court also determined that portions of Plaintiffs’ relief could only be ordered by a three-judge

                                  18   court. Id. at 569-71.

                                  19          Beginning in April 2020, the Court has conducted regular case management conferences –

                                  20   starting approximately weekly, then biweekly, and then monthly – focused almost exclusively on

                                  21   pandemic management and attended by the parties as well as the California Correctional Peace

                                  22   Officers Association (“CCPOA”). Defendants have continued to cooperate with the Receiver,

                                  23   including by implementing a movement transfer matrix to reduce the risk of transmission caused

                                  24   by movement of incarcerated persons into or within the system, and revising that matrix based on

                                  25   updated information regarding how the virus spreads. Defendants have also complied with orders

                                  26   of this Court. E.g., ECF No. 3353 (regarding staff testing); ECF No. 3455 (setting deadlines to set

                                  27   aside isolation and quarantine space).

                                  28          Once vaccines became available, Defendants supported efforts to provide the vaccine to
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                                   1   both staff and incarcerated persons – including before many jurisdictions were prioritizing

                                   2   incarcerated persons to receive vaccines. Nearly every incarcerated person has now been offered

                                   3   the vaccine, and those who have not have either been away from the institutions for court

                                   4   proceedings or have newly entered the system. Most recently, Defendants have offered third

                                   5   doses of the vaccine to immunocompromised incarcerated persons in accordance with updated

                                   6   health guidance. Defendants have also been offering the vaccine to staff on-site and have

                                   7   undertaken multiple efforts to encourage both staff and incarcerated persons to be vaccinated.

                                   8   Approximately 75% of both incarcerated persons and health care staff, and approximately 42% of

                                   9   custody staff, have been fully vaccinated to date. Notwithstanding concerted efforts by the

                                  10   Receiver, Defendants, the CCPOA, and many other persons and groups, the overall staff

                                  11   vaccination rate is approximately 55% statewide, with rates in the 30% range at several

                                  12   institutions and a correctional staff rate as low as 18% at one institution.
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                                  13            In February 2021, the Receiver convened a group of experts and decided not to

                                  14   recommend a staff vaccine mandate at that time. However, mandatory vaccination continued to be

                                  15   a topic of conversation, including at the Court’s case management conferences. At the July 29,

                                  16   2021 case management conference, the Receiver reported his conclusion that “all of our efforts to

                                  17   date have been insufficient to achieve the very high rate of staff vaccination that is necessary to

                                  18   further significantly reduce the risk that COVID will be introduced into our prisons,” in part due to

                                  19   the threat posed by the more infectious Delta variant. ECF No. 3641 at 18-19. The Receiver

                                  20   recommended “that access by workers to CDCR institutions be limited to those workers who

                                  21   establish proof of vaccination or a religious or medical exemption to vaccination,” and that

                                  22   “incarcerated persons who desire to work outside of the institution, for example, fire camps, or to

                                  23   have in-person visitation must be vaccinated or establish a religious or medical exemption.” Id. at

                                  24   21. He noted that his discussions with counsel indicated likely opposition to his

                                  25   recommendations, and the Court discussed with the parties and CCPOA a process to resolve the

                                  26   issue.

                                  27            On August 4, the Receiver filed a report setting forth the public health basis for his

                                  28   recommendations, ECF No. 3638, and the Court subsequently issued an order to show cause as to
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                                   1   why it should not order that those recommendations be implemented, ECF No. 3647. The matter

                                   2   was fully briefed by the parties, the Receiver, and potential intervenor CCPOA,1 and the Court

                                   3   accepted amicus briefs from the Service Employees International Union, Local 1000 (“SEIU”) and

                                   4   a group of mental health professionals. The Court heard argument on September 24, 2021.

                                   5           Separate from the Receiver’s and the Court’s consideration of a mandatory vaccination

                                   6   policy, the California Department of Public Health (“CDPH”) issued several related orders. First,

                                   7   on July 26, CDPH issued an order requiring full vaccination or testing, either weekly or twice

                                   8   weekly, of staff who work in hospitals, skilled nursing facilities, other health care settings, and

                                   9   high-risk congregate settings, including correctional facilities and homeless centers. CDPH,

                                  10   Order of the State Public Health Officer re: Health Care Worker Protections in High-Risk

                                  11   Settings (July 26, 2021), https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-19/Order-

                                  12   of-the-State-Public-Health-Officer-Unvaccinated-Workers-In-High-Risk-Settings.aspx. Under
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                                  13   this order, CDCR staff must either be fully vaccinated or tested at least once weekly. Id.

                                  14   Individuals are considered fully vaccinated “two weeks or more after they have received the

                                  15   second dose in a 2-dose series (Pfizer-BioNTech or Moderna or vaccine authorized by the World

                                  16   Health Organization), or two weeks or more after they have received a single-dose vaccine

                                  17   (Johnson and Johnson [J&J]/Janssen).” Id.

                                  18           CDPH issued another order on August 5 that eliminated the option of testing for workers in

                                  19   certain healthcare settings. ECF No. 3663-1 at 260-63. CDPH concluded that, “[a]s we respond

                                  20   to the dramatic increase in cases, all health care workers must be vaccinated to reduce the chance

                                  21   of transmission to vulnerable populations.” Id. at 261. The order requires all workers who

                                  22   “provide services or work in” a specified list of health care facilities to “have their first dose of a

                                  23   one-dose regimen or their second dose of a two-dose regimen by September 30, 2021.” Id. The

                                  24   order defined “worker” as including “all paid and unpaid individuals who work in indoor settings

                                  25   where (1) care is provided to patients, or (2) patients have access for any purpose,” and

                                  26   specifically included “security” personnel. Id. at 262. CDPH clarified the following day that the

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                                        CCPOA’s motion to intervene, ECF No. 3665, is noticed for hearing in October and remains
                                       pending.
                                                                                   5
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                                   1   order did not apply to healthcare settings within correctional facilities and that further guidance

                                   2   would be forthcoming.

                                   3           On August 19, CDPH issued its further guidance in an order that requires the following

                                   4   persons to “have their first dose of a one-dose regimen or their second dose of a two-dose regimen

                                   5   by October 14, 2021”: “All paid and unpaid individuals who are regularly assigned to provide

                                   6   health care or health care services to inmates, prisoners, or detainees,” and “[a]ll paid and unpaid

                                   7   individuals who are regularly assigned to work within hospitals, skilled nursing facilities,

                                   8   intermediate care facilities, or the equivalent that are integrated into the correctional facility or

                                   9   detention center in areas where health care is provided.” ECF No. 3663-1 at 270-71. The latter

                                  10   group “includes workers providing health care to inmates, prisoners, and detainees, as well as

                                  11   persons not directly involved in delivering health care, but who could be exposed to infectious

                                  12   agents that can be transmitted in the health care setting.” Id. at 271.
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                                  13           Defendants are implementing the August 19 CDPH order by requiring the following

                                  14   individuals to be vaccinated: “all staff at California Health Care Facility (CHCF), California

                                  15   Medical Facility (CMF), and the Skilled Nursing Facility at Central California Women’s Facility

                                  16   (CCWF),” and all workers “regularly assigned to work” in certain healthcare areas systemwide,

                                  17   including clinic treatment areas, Correctional Treatment Centers and other licensed beds, hospice

                                  18   beds, and dialysis units. ECF No. 3662-3 at 2-3. The vaccine requirement does “not apply to non-

                                  19   regularly assigned staff, such as relief staff, voluntary overtime, mandatory overtime, swaps, or

                                  20   those who do not work in the area regularly, such as staff making pick-ups or deliveries,

                                  21   conducting maintenance repairs, conducting tours, etc. Additionally, this will not apply to any

                                  22   staff responding to emergencies.” Id. at 3. “[W]orkers in correctional settings who are not fully

                                  23   vaccinated or who cannot show proof of vaccination [must] submit to twice-weekly testing,”

                                  24   which exceeds the requirement in the July 26 CDPH order that such workers be tested weekly.

                                  25   ECF No. 3662 ¶ 18.

                                  26   II.     LEGAL STANDARD

                                  27           The Prison Litigation Reform Act (“PLRA”) allows prospective relief only if it “extend[s]

                                  28   no further than necessary to correct the violation of the Federal right of a particular plaintiff or
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                                   1   plaintiffs.” 18 U.S.C. § 3626(a)(1)(A). The federal right at issue in this case is whether

                                   2   Defendants’ response to the threat posed by COVID-19 violates the Eighth Amendment. The

                                   3   parties and CCPOA agree on the relevant legal standard. As the Court previously explained:

                                   4
                                                      To establish an Eighth Amendment violation “based on a failure to
                                   5                  prevent harm, the inmate must [first] show that he is incarcerated
                                                      under conditions posing a substantial risk of serious harm.” Farmer
                                   6                  v. Brennan, 511 U.S. 825, 834 (1994). The Court need not analyze
                                                      this issue in detail because Defendants have already stated before the
                                   7                  Three-Judge Court that they “do not dispute the risk of harm that
                                                      COVID-19 poses to inmates, as well as the community at large. Nor
                                   8                  do Defendants dispute that those who are incarcerated may be at a
                                                      higher risk for contracting COVID-19 given the circumstances of
                                   9                  incarceration, including closer living quarters.” ECF No. 3235 at 17.
                                                      Defendants do not attempt to relitigate the issue here, and the Court
                                  10                  finds that this element has been established.2

                                  11                  The Court therefore turns to the second prong of the Eighth
                                                      Amendment analysis: whether Plaintiffs have demonstrated that
                                  12                  Defendants “have a ‘sufficiently culpable state of mind,’” which in
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                                                      this case requires “‘deliberate indifference’ to inmate health or
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                                  13                  safety.” Farmer, 511 U.S. at 834 (quoting Wilson v. Seiter, 501 U.S.
                                                      294, 297, 302-03 (1991)). Under this standard, a prison official must
                                  14                  “know[] that inmates face a substantial risk of serious harm and
                                                      disregard[] that risk by failing to take reasonable measures to abate
                                  15                  it.” Id. at 847. “A prison official’s duty under the Eighth Amendment
                                                      is to ensure reasonable safety,” and “prison officials who act
                                  16                  reasonably cannot be found liable under the Cruel and Unusual
                                                      Punishments Clause.” Id. at 844-45 (internal quotation marks and
                                  17                  citations omitted). There is no Eighth Amendment violation, for
                                                      example, where prison officials “did not know of the underlying facts
                                  18                  indicating a sufficiently substantial danger and . . . were therefore
                                                      unaware of a danger,” or where “they knew the underlying facts but
                                  19                  believed (albeit unsoundly) that the risk to which the facts gave rise
                                                      was insubstantial or nonexistent.” Id. at 844. Likewise, “prison
                                  20                  officials who actually knew of a substantial risk to inmate health or
                                                      safety may be found free from liability if they responded reasonably
                                  21                  to the risk, even if the harm ultimately was not averted.” Id. In
                                                      determining whether officials have been deliberately indifferent,
                                  22                  courts must give “due regard for prison officials’ ‘unenviable task of
                                                      keeping dangerous men in safe custody under humane conditions,’”
                                  23                  id. at 845 (quoting Spain v. Procunier, 600 F.2d 189, 193 (9th Cir.
                                                      1979)), and “consider arguments regarding the realities of prison
                                  24                  administration,” Helling v. McKinney, 509 U.S. 25, 37 (1993).

                                  25   Plata, 445 F. Supp. 3d at 562 (footnote added).
                                  26           If the Court finds the violation of a federal right, it may not, under the PLRA, “grant or
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                                       2
                                        Defendants continue to acknowledge that “the COVID-19 pandemic presents a substantial risk of
                                       serious harm.” ECF No. 3660 at 9.
                                                                                     7
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                                   1   approve any prospective relief unless the court finds that such relief is narrowly drawn, extends no

                                   2   further than necessary to correct the violation of the Federal right, and is the least intrusive means

                                   3   necessary to correct the violation of the Federal right.” 18 U.S.C. § 3626(a)(1)(A). “Narrow

                                   4   tailoring requires a fit between the remedy’s ends and the means chosen to accomplish those ends.

                                   5   The scope of the remedy must be proportional to the scope of the violation, and the order must

                                   6   extend no further than necessary to remedy the violation.” Brown v. Plata, 563 U.S. 493, 531

                                   7   (2011) (quotation marks, alterations, and citations omitted). “But the precedents do not suggest

                                   8   that a narrow and otherwise proper remedy for a constitutional violation is invalid simply because

                                   9   it will have collateral effects.” Id. Instead, the PLRA’s restrictions on injunctive relief mean

                                  10   “only that the scope of the order must be determined with reference to the constitutional violations

                                  11   established by the specific plaintiffs before the court.” Id.

                                  12   III.    DISCUSSION
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                                  13           There has been no objection to the Receiver’s recommendation “that incarcerated persons

                                  14   who desire to work outside of the institution (e.g., fire camps) or to have in-person visitation must

                                  15   be vaccinated (or establish a religious or medical exemption).” ECF No. 3638 at 27.

                                  16   Accordingly, the Court focuses below on the contested recommendation “that access by workers

                                  17   to CDCR institutions be limited to those workers who establish proof of vaccination (or who have

                                  18   established a religious or medical exemption to vaccination).” Id. In particular, the Court

                                  19   examines whether ordering implementation of the Receiver’s recommendation is necessary, and is

                                  20   the least restrictive means, to remedy a violation of Plaintiffs’ Eighth Amendment rights.

                                  21           A.     Deliberate Indifference

                                  22           Defendants first argue that a finding of deliberate indifference is precluded by the fact that

                                  23   a portion of the incarcerated population has refused to accept the vaccine they have been offered.

                                  24   However, the cases they rely on are cases seeking individual injunctive relief, rather than the type

                                  25   of systemic relief sought here.3 See Pride v. Correa, 719 F.3d 1130, 1137 (9th Cir. 2013)

                                  26
                                       3
                                  27    Davis v. Allison, on which Defendants seek to rely for its conclusion that the plaintiff was
                                       unlikely to succeed on the merits of his COVID-related deliberate indifference claim, is
                                  28   distinguishable for the same reason. No. 1:21-cv-00494-HBK, 2021 WL 3761216 (E.D. Cal.
                                       Aug. 25, 2021), report and recommendation adopted, 2021 WL 4262400 (E.D. Cal. Sept. 20,
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                                   1   (“Individual claims for injunctive relief related to medical treatment are discrete from the claims

                                   2   for systemic reform addressed in Plata.”). More significantly, Defendants fail to consider that it is

                                   3   not only the unvaccinated population that is at substantial risk of serious harm from COVID-19,

                                   4   and that such risk would be present even if the entire incarcerated population were vaccinated.

                                   5   The unrebutted evidence4 is that, “although vaccination greatly reduces the risk of harm, the Delta

                                   6   variant presents a substantial risk of serious harm even to fully vaccinated patients.” ECF No.

                                   7   3652 ¶ 5. This is because “some fully vaccinated individuals will contract COVID-19. When a

                                   8   fully-vaccinated patient becomes infected this is referred to as a ‘breakthrough’ infection.

                                   9   Although the exact rate of breakthrough infections is not yet clear, the Delta variant causes

                                  10   breakthrough infections significantly more often than prior COVID-19 variants.” Id. ¶ 3. The

                                  11   most recent data in the record is that:

                                  12                  Through September 1, 2021, 385 fully vaccinated patients in CDCR
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                                                      custody have suffered COVID-19 breakthrough infections, and 94 of
                                  13                  those patients had a COVID risk score of 3 or higher, indicating a
                                                      high risk of severe disease. One patient who CCHCS [California
                                  14                  Correctional Health Care Services] believes was fully vaccinated has
                                                      died of COVID-19. Other patients with breakthrough infections have
                                  15                  also experienced serious symptoms and there are early indications
                                                      that some may have long-term symptoms.
                                  16

                                  17   ECF No. 3670-1 ¶ 9 (footnotes omitted). Long-term effects of COVID-19 can include “fever,

                                  18   chest pains, shortness of breath, diarrhea, vomiting, sudden onset diabetes and hypertension, mood

                                  19

                                  20
                                       2021) (denying motion for preliminary injunction). In addition, Davis is not persuasive because
                                  21   the plaintiff did not raise the issues that are currently before this Court. Instead, Davis more
                                       narrowly complained about circumstances in which incarcerated persons are released from
                                  22   quarantine housing and the lack of adequate cleaning supplies. Id. at *1. The court determined
                                       that “[t]he only disputed fact on this record concerns the inmates’ respective access to cleaning
                                  23   supplies for their respective cells,” but that the record demonstrated that “inmates do have access
                                       to cleaning supplies” and that Davis did not “allege that he asked for cleaning supplies for his cell
                                  24   and was denied any supplies.” Id. at *6 (emphasis in original). The court also noted that Davis
                                       had chosen to receive the vaccine and concluded that his “claims of threatened harm are
                                  25   speculative at best.” Id. at *4. In this case, however, the Receiver and Plaintiffs have presented
                                       evidence – unrebutted by Defendants – that the harms faced by vaccinated incarcerated persons
                                  26   are substantial and not speculative, as explained in more detail below.
                                       4
                                  27     Aside from the Declaration of James Watt, discussed further below, no medical or public health
                                       evidence was submitted in opposition to the Receiver’s recommendations. Indeed, Defendants
                                  28   explicitly stated that they “agree with the public health findings regarding the COVID-19 vaccine
                                       cited in the Receiver’s report.” ECF No. 3660 at 24.
                                                                                          9
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                                   1   disorders, and nervous system disorders. Such long-term symptoms are sometimes experienced

                                   2   by patients who had mild COVID-19 symptoms and the impact may be life-long.” ECF No. 3638

                                   3   at 6-7 (footnotes omitted). Moreover, although much of the recent focus has been on the Delta

                                   4   variant, which “is more than twice as transmissible as the Wuhan strain,” the risk is not limited to

                                   5   that variant; instead, “[t]he virus is likely to continue to mutate, potentially creating even more

                                   6   transmissible strains than Delta.” ECF No. 3638-1 ¶¶ 29, 33.

                                   7          In addition, COVID-19 outbreaks pose other serious risks to incarcerated persons beyond

                                   8   the direct impacts of COVID-19 infection. For example, during an outbreak, “non-essential

                                   9   medical services are postponed. Only after 14 days without a new infection in that institution can

                                  10   medium priority healthcare services like preventative care and screenings resume. Routine

                                  11   clinical operations are suspended until 28 days without a new infection.” ECF No. 3638 at 18

                                  12   (footnotes omitted). “An outbreak is defined as three or more related COVID-19 incarcerated
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                                  13   person cases within a facility, as determined by a contact investigation, in the past 14 days.” ECF

                                  14   No. 3673-1 ¶ 15. “During outbreaks, a large number of people are on quarantine due to exposure.

                                  15   When quarantined for exposure, incarcerated persons experience restricted movement and

                                  16   therefore have limited access to routine healthcare and screenings because they cannot go to the

                                  17   clinic.” ECF No. 3652 ¶ 7. And for those incarcerated persons who are able to attend clinic

                                  18   because they are not themselves on quarantine, appointment availability is limited because

                                  19   quarantines “divert clinical staff resources to performing mass testing, medication administration,

                                  20   and rounds on COVID-19 patients rather than providing routine medical care.” Id. Delays in

                                  21   clinical care are also caused by the “large number of staff in quarantine” – approximately 5,500 in

                                  22   total over the past year – either because they have themselves contracted COVID-19 or because

                                  23   they “are identified as close contacts of an infected individual.” Id. ¶ 9. The pandemic has led to

                                  24   significant increases in backlog appointments for both primary and specialty care, and the increase

                                  25   in cases due to the Delta variant is expected to lead to further delays. Id. ¶¶ 10-11. As of July

                                  26   2021, there were approximately 5,000 backlogged primary care appointments and 8,000

                                  27   backlogged specialty appointments. Id. at 31, 33. Although mental health care is the subject of

                                  28   the Coleman case, the Court notes the undisputed evidence that outbreaks cause “a significant
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                                   1   impediment to the delivery of group therapy” and “complicate the movement of patients for higher

                                   2   level mental health care.” ECF No. 3638-1 ¶¶ 9-10; see also ECF No. 3658 (brief of amici mental

                                   3   health professionals). In short, “[a]dditional program modifications and the renewed diversion of

                                   4   healthcare resources to address COVID-19 cases from Delta variant outbreaks put patients at a

                                   5   substantial risk of serious harm.” ECF No. 3652 ¶ 8.

                                   6          Defendants also argue that the Court cannot find them deliberately indifferent in light of

                                   7   their multi-faceted response to the COVID-19 pandemic and the Court’s April 2020 determination

                                   8   that Defendants were not deliberately indifferent at that time. This argument is unpersuasive.

                                   9   Deliberate indifference “should be determined in light of the prison authorities’ current attitudes

                                  10   and conduct.” Helling, 509 U.S. at 36 (emphasis added). While the Court concluded seventeen

                                  11   months ago that Defendants’ initial response to the pandemic was not deliberately indifferent, it

                                  12   cannot reach that same conclusion based on the current record. In its prior ruling, the Court
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                                  13   explained:

                                  14                  No bright line divides a reasonable response from one that is
                                                      deliberately indifferent in violation of the Eighth Amendment. In this
                                  15                  case, however, the Court concludes without difficulty that
                                                      Defendants’ response has been reasonable. Plaintiffs identify other
                                  16                  steps Defendants might take to provide for greater physical
                                                      distancing, but they cite no authority for the proposition that
                                  17                  Defendants’ failure to consider or adopt these potential alternatives
                                                      constitutes deliberate indifference within the meaning of the Eighth
                                  18                  Amendment.
                                  19   Plata, 445 F. Supp. 3d at 568. The Court reached this conclusion in part because Defendants had

                                  20   already implemented measures to increase physical distancing; Plaintiffs failed to articulate any

                                  21   “standard by which to determine how much physical distance is required to ensure reasonable

                                  22   safety”; Defendants had recently agreed to comply with a cohorting directive from the Receiver

                                  23   designed to increase physical distancing; and “Plaintiffs [did] not argue that housing in

                                  24   compliance with the Receiver’s directive would be constitutionally inadequate.” Id. at 564-68

                                  25   (quotation marks and citation omitted). As discussed below, such considerations are not present

                                  26   here. At the time of the Court’s prior ruling, no vaccine was available. A finding that Defendants

                                  27   were not deliberately indifferent based on a toolbox without a vaccine has little relevance when

                                  28   the same toolbox now includes a vaccine that everyone agrees is one of the most important tools,
                                                                                        11
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                                   1   if not the most important one, in the fight against COVID-19.

                                   2           Defendants do not dispute any of the relevant facts, nor do they present any evidence

                                   3   suggesting it would be reasonable not to adopt the Receiver’s recommendations. The closest they

                                   4   come is the declaration of Dr. James Watt, a CDPH official, who states that other “measures, when

                                   5   considered in conjunction with the relatively high rate of vaccination among the incarcerated

                                   6   population, will significantly mitigate the spread of the virus,” and that “[t]he best way for patients

                                   7   in correctional settings to reduce their risk of severe illness – regardless of location – would be to

                                   8   get vaccinated.”5 ECF No. 3661 ¶¶ 17, 18. But Watt stops short of saying that vaccination, even

                                   9   when in combination with other measures, offers incarcerated persons sufficient protection from

                                  10   COVID-19. Nor could such a conclusion be reconciled with the uncontested evidence regarding

                                  11   the dangers COVID-19 presents to vaccinated incarcerated persons. Likewise, even if other

                                  12   measures “significantly mitigate” the spread of the virus, Watt does not say that they are sufficient
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                                  13   to protect Plaintiffs from those harms. Defendants have pointed to no measure or combination of

                                  14   measures that offers the incarcerated population the same level of protection as the vaccine

                                  15   mandates recommended by the Receiver. They do not refute the studies cited by the Receiver that

                                  16   conclude that “COVID-19 spreads far more rapidly inside jails and prisons than in other

                                  17   environments,” in part because individuals who live in congregate settings like prisons “have

                                  18   intense, long-duration, close contact.” ECF No. 3638 at 10-16. Nor do Defendants dispute the

                                  19   Receiver’s conclusion that “[l]imiting the introduction of COVID-19 into prisons is critical to

                                  20   protecting the health of incarcerated people” because:

                                  21                  prison systems, even those that take important mitigation measures
                                                      such as masking and social distancing, are not designed and operated
                                  22                  to prevent the transmission of a highly contagious virus and cannot be
                                                      redesigned to do so effectively in the near term. The conditions of
                                  23                  confinement and the manner in which the prisons are operated deprive
                                                      incarcerated people of the same opportunities to protect themselves
                                  24                  through social distancing and limiting contact that are available to the
                                                      public at large.
                                  25

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                                       5
                                  27    Defendants also attempt to rely on the December 9, 2020 declaration of Dr. Anne Spaulding.
                                       ECF No. 3505. However, Spaulding was opining on Defendants’ efforts at that time, prior to the
                                  28   availability of a vaccine, and Defendants have not offered her opinion on the reasonableness of
                                       Defendants’ efforts under current circumstances.
                                                                                       12
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                                   1   Id. at 16.

                                   2           It is also uncontested that “[i]nstitutional staff are primary vectors for introducing

                                   3   COVID-19 into CDCR facilities,” id. at 7, and that “[i]nstitutions with low staff vaccination rates

                                   4   experience larger and more frequent COVID-19 outbreaks,” ECF No. 3652 ¶ 9. For example, half

                                   5   of the 14 outbreaks between May and July 2021 have been traced to staff, and that number could

                                   6   still grow because analysis of the remaining outbreaks is ongoing. ECF No. 3638-1 ¶ 17 & at

                                   7   9-12. Between July 31 and September 10, 2021, a staggering 48 outbreaks “have been traced back

                                   8   to institutional staff.” ECF No. 3670-1 ¶ 6. The record does not include the number of outbreaks

                                   9   overall that occurred during this latter period, but the number of outbreaks traced back to staff

                                  10   alone, over a shorter period of time, indicates that the introduction of the virus into CDCR

                                  11   institutions by staff is increasing. By contrast, “[i]ncarcerated persons who neither work outside

                                  12   of CDCR institutions nor participate in in-person visitation do not present a significant risk of
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                                  13   introducing SARS-CoV-2 into CDCR institutions.” ECF No. 3638-1 ¶ 13. “Because COVID-19

                                  14   spreads so easily within prisons and is so disruptive to prison operations once outbreaks begin, it is

                                  15   particularly important that all people going between the community and institutions without

                                  16   quarantining are fully vaccinated to prevent the introduction of COVID-19 to institutions.” ECF

                                  17   No. 3670-1 ¶ 4. Defendants themselves acknowledge that “[v]accination in the largest possible

                                  18   numbers, including all incarcerated people, is clearly one of the best available protections against

                                  19   COVID-19.” ECF No. 3660 at 25.

                                  20           Defendants also do not contest the Receiver’s analysis regarding the insufficiency of

                                  21   testing as an alternative to vaccination:

                                  22                  Frequent testing is insufficient to prevent institutional staff who are
                                                      unaware that they have COVID-19 from spreading the virus. . . .
                                  23                  CDCR has indicated that . . . it will test unvaccinated employees twice
                                                      per week. Tests can detect a positive case only where a certain viral
                                  24                  load is present, so a recently infected individual may not test positive
                                                      for several days after exposure. Results of COVID-19 tests are also
                                  25                  typically available only after a wait of a day or longer. An infected
                                                      staff member might work two or three days before being tested; a
                                  26                  newly infected staff member may test negative, continue working and
                                                      reach a viral load sufficient to transmit the virus before being tested
                                  27                  again and finally receiving a positive test result.
                                  28
                                                                                         13
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                                                      Because as much as 40 percent of transmission is pre-symptomatic,
                                   1                  individuals who receive false negative test results or who test too
                                                      early may be unaware they are contagious throughout this period. As
                                   2                  a result, the twice-per-week testing regimen does not effectively
                                                      prevent asymptomatic staff from introducing COVID-19 to CDCR
                                   3                  institutions. Indeed, even daily testing would not do so. Testing is an
                                                      essential component of any plan, but it is not a substitute for
                                   4                  vaccination.
                                   5   ECF No. 3638 at 8-9 (footnotes omitted). “CDCR staff are vaccinated at far too low a rate to

                                   6   reduce the risk of mass outbreaks in CDCR institutions.” ECF No. 3638-1 ¶ 37.

                                   7           Even in light of all of the above, Defendants argue that their implementation plan for the

                                   8   July 26 and August 19 CDPH orders is sufficient.6 The uncontradicted public health record before

                                   9   the Court says otherwise. Defendants’ plan mandates vaccination at only two institutions in their

                                  10   entirety, and only for staff who are regularly assigned to work in certain designated healthcare

                                  11   settings at the remaining institutions. This partial vaccination requirement is an unreasonable

                                  12   attempt to address the risk of harm to Plaintiffs for several reasons. First, the incarcerated
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                                  13   population is not at risk only, and may not even be at the highest risk, in areas that Defendants

                                  14   have designated as healthcare settings. For example, Defendants do not dispute that incarcerated

                                  15   persons do not wear masks when eating or sleeping, and that this increases the chance of

                                  16   transmission.7 ECF No. 3638 at 13-14. Nor do Defendants dispute the myriad ways in which

                                  17   incarcerated persons come into close contact with staff outside of healthcare settings. E.g., ECF

                                  18   No. 3638-2 ¶ 3 (“Corrections officers have frequent, daily, close contact with incarcerated

                                  19   persons.”); ECF No. 3663-2 ¶¶ 12-16 (describing close contact between staff and incarcerated

                                  20   persons with physical disabilities); ECF No. 3663-3 ¶¶ 5-6 (describing close contact between staff

                                  21

                                  22   6
                                         Defendants raise this argument in the context of narrow tailoring, but the issue is properly
                                  23   considered as part of the deliberate indifference analysis because it goes towards the
                                       reasonableness of Defendants’ response to the risk of harm to Plaintiffs.
                                  24   7
                                         Defendants present evidence that there are fewer occupied beds in dormitories now than there
                                  25   were at the beginning of the pandemic. ECF No. 3673-1 ¶ 12. While this might increase the
                                       distance between incarcerated persons while they are sleeping, it does not remove the danger of
                                  26   transmission “because the air in any given room is shared with each individual in that room and
                                       the length of exposure is so long.” ECF No. 3638-3 ¶ 15. Public health experts have concluded,
                                  27   without rebuttal, that “to minimize COVID-19 risk, dorms with a capacity of fifty people should
                                       house only three people, and that small dorms with the capacity of six people and cells with
                                  28   capacity of two people should both house only a single person.” ECF No. 3638 at 14 (emphasis
                                       omitted). Defendants do not contend that they have reduced capacity to such levels.
                                                                                       14
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                                   1   and incarcerated persons with developmental disabilities). Even healthcare itself can be provided

                                   2   outside designated healthcare settings; for example, during quarantines, “[u]rgent care is provided

                                   3   to patients in their cells or dormitories.” ECF No. 3652 ¶ 7. Put most simply, “[i]ncarcerated

                                   4   persons spend the vast majority of their time outside of healthcare settings, where staff with whom

                                   5   they come into contact are vaccinated at much lower rates.” ECF No. 3670-1 ¶ 5. Given recent

                                   6   outbreaks, there is no doubt that the limited vaccine requirements adopted by Defendants are

                                   7   insufficient “to ensure reasonable safety.” Farmer, 511 U.S. at 844 (quotation marks and citation

                                   8   omitted). Of the 48 outbreaks traceable to staff since July 31, only 14, or 29%, were “traced back

                                   9   to a person that the August 19 CDPH order would require to be vaccinated.” ECF No. 3670-1 ¶ 6.

                                  10           Second, and relatedly, requiring vaccination only for workers assigned to designated

                                  11   healthcare settings does not protect vulnerable persons who do not reside in those settings.

                                  12   Defendants acknowledge that patients with COVID-19 risk scores greater than 3 are classified as
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                                  13   “medically high-risk.”8 ECF No. 3662 ¶ 5. Throughout the prison system, 17,886 patients have

                                  14   such a score. ECF No. 3670-1 ¶ 8. Of those, “15,246 (85%) live in a space not covered by the

                                  15   August 19 CDPH order,” and another “313 live in a medical facility located within an institution

                                  16   that is not fully covered by the order. The August 19 CDPH order does not provide significant

                                  17   protection from outbreaks for either of these two groups,” which constitute the overwhelmingly

                                  18   majority of high-risk patients housed in CDCR institutions. Id. These patients are housed

                                  19   throughout all of CDCR’s adult institutions. ECF No. 3674-1 ¶ 2. In response to the Court’s

                                  20   request for information regarding “whether there is any reason for concluding that these

                                  21   individuals are at lower risk than the high-risk individuals housed in the covered institutions or

                                  22   areas,” ECF No. 3653 at 3, Defendants offered only that such persons “are likely to have widely

                                  23   variable levels of risk, depending on the institution and the location within the institution of an

                                  24

                                  25
                                       8
                                         “The COVID Weighted Risk Score Factors and their weights in parentheses include:
                                       Age 65+ (4), Advanced Liver Disease (2), Persistent Asthma (1), High Risk Cancer (2), Chronic
                                  26   Kidney Disease (CKD) (1), Stage 5 CKD or receiving dialysis (1), Chronic Lung Disease
                                       (including Cystic Fibrosis, Pneumoconiosis, or Pulmonary Fibrosis) (1), COPD (2), Diabetes (1),
                                  27   High Risk Diabetes (1), Heart Disease (1), High Risk Heart Disease (1), Hemoglobin Disorder (1),
                                       HIV/AIDS (1), Poorly Controlled HIV/AIDS (1), Hypertension (1), Immunocompromised (2),
                                  28   Neurologic Conditions (1), Obesity (1), Other High Risk Chronic Conditions (1), and
                                       Pregnancy (1).” ECF No. 3663-1 at 42.
                                                                                      15
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                                   1   exposure.” ECF No. 3661 ¶ 18. The Court cannot conclude from that submission that at-risk

                                   2   patients who reside outside of designated healthcare areas are any less vulnerable than those

                                   3   individuals who live in designated healthcare areas. Defendants also assert that the August 19

                                   4   order “targets employees who work closely with particularly vulnerable patients,” ECF No. 3660

                                   5   at 21 (emphasis in original), but they fail to explain why those patients merit protection only while

                                   6   present in a designated healthcare setting.

                                   7          Third, transmission of the virus cannot be controlled by requiring vaccination only for staff

                                   8   in limited areas of an institution. Defendants do not dispute that “[p]rison operations require

                                   9   people from throughout the prison to come into contact with each other, making it difficult to

                                  10   isolate an outbreak to only one housing unit or yard.” ECF No. 3638 at 13. “Medical facilities

                                  11   and yards often share facilities with the entire institution, such as cafeterias, yards, and

                                  12   programming spaces,” which means that incarcerated persons who reside in those areas “have
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                                  13   contact with staff and incarcerated persons from other yards.” ECF No. 3670-2 ¶ 5. As a

                                  14   consequence, the same person can cause multiple areas to be placed in quarantine, as happened

                                  15   recently when a single staff member exposed four housing units to the virus. ECF No. 3674-1 at

                                  16   90.

                                  17          Fourth and finally, even if Defendants had presented evidence that only healthcare areas

                                  18   need be covered by a vaccine requirement, the limitation to only workers who are regularly

                                  19   assigned to such areas would render the requirement ineffective. Defendants have themselves

                                  20   characterized “the flexibility to send custody staff to locations where they are needed, which can

                                  21   change from day to day due to staff illness, leave, emergencies, changes in programming, staffing

                                  22   shortages, promotions, and transfers, among other reasons” as necessary and “even more essential

                                  23   during the current pandemic.” ECF No. 3314 at 5-6. “Every day, across all CDCR institutions,

                                  24   there are hundreds of employees working in areas to which they are not regularly assigned,”

                                  25   including “relief officers with no permanent post who fill different vacancies from day to day,”

                                  26   and “[s]taff are often temporarily assigned to medical facilities.” ECF No. 3670-2 ¶¶ 2-3.

                                  27   “Officers working their ordinary shifts are often reassigned to cover higher-need vacant positions.

                                  28   For example, a gym officer may be reassigned for the day to guard a clinic in order to keep the
                                                                                          16
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                                   1   clinic operating.” ECF No. 3638-2 ¶ 4. Thus, workers who are not subject to Defendants’ current

                                   2   vaccination requirement regularly work in designated healthcare settings despite not being

                                   3   regularly assigned to those areas. In other words, Defendants plan to regularly send unvaccinated

                                   4   staff into areas they concede are in need of greater protection. For all of the above reasons,

                                   5   Defendants’ implementation of the August 19 CDPH order does not constitute a reasonable

                                   6   response to Plaintiffs’ risk of harm.

                                   7           The August 5 CDPH order that applies to non-correctional healthcare settings underscores

                                   8   the unreasonableness of Defendants’ position. One of the purposes of that order was “to protect

                                   9   particularly vulnerable populations.” ECF No. 3663-1 at 260. It applied to hospitals, skilled

                                  10   nursing facilities, and other healthcare facilities because those facilities were determined to be

                                  11   “particularly high-risk settings where COVID-19 outbreaks can have severe consequences for

                                  12   vulnerable populations including hospitalization, severe illness, and death.” Id. These settings
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                                  13   were also described as “shar[ing] several features. There is frequent exposure to staff and highly

                                  14   vulnerable patients, including elderly, chronically ill, critically ill, medically fragile, and disabled

                                  15   patients. In many of these settings, the patients are at high risk of severe COVID-19 disease due

                                  16   to underlying health conditions, advanced age, or both.” Id.

                                  17           These same descriptors concededly apply to California’s prisons as a whole, and not only

                                  18   to designated healthcare facilities within those prisons. See, e.g., ECF No. 3638 at 16-18 (noting

                                  19   that incarcerated persons infected with COVID-19 “have worse health outcomes on average than

                                  20   the population as whole,” “in part because they have risk factors for COVID-19 at a

                                  21   disproportionate rate compared to the general public” and “are often considered effectively ten

                                  22   years older, physiologically, than their chronological age”). In fact, the July 26 CDPH order

                                  23   described correctional facilities as “residential facilities where the residents have little ability to

                                  24   control the persons with whom they interact. There is frequent exposure to staff and other

                                  25   residents. In many of these settings, the residents are at high risk of severe COVID-19 disease due

                                  26   to underlying health conditions, advanced age, or both.” https://www.cdph.ca.gov/Programs/

                                  27   CID/DCDC/Pages/COVID-19/Order-of-the-State-Public-Health-Officer-Unvaccinated-Workers-

                                  28   In-High-Risk-Settings.aspx. Moreover, one basis for the August 5 order was that “[r]ecent
                                                                                           17
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                                   1   outbreaks in health care settings have frequently been traced to unvaccinated staff members,”

                                   2   which led CDPH to concluded that “all health care workers must be vaccinated to reduce the

                                   3   chance of transmission to vulnerable populations.” ECF No. 3663-1 at 261. As discussed above,

                                   4   recent outbreaks in prisons – not only in designated healthcare areas within prisons – have also

                                   5   been traced to staff. Defendants do not explain why it would be reasonable to refuse a similar

                                   6   vaccination requirement to reduce the chance of transmission to the vulnerable population that

                                   7   resides in CDCR’s facilities.

                                   8           Defendants assert that “CDCR has made every effort to implement COVID-19 safety

                                   9   measures based on the latest public health guidance and available resources.” ECF No. 3673 at 4.

                                  10   However, to the extent that assertion might have been true before, it is no longer supported by the

                                  11   record. Neither Defendants nor CCPOA disputes that COVID-19 continues to pose a substantial

                                  12   risk of serious harm – including death – to incarcerated persons, regardless of their vaccination
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                                  13   status; that, even with mitigation measures in place, the virus spreads quickly in a prison setting;

                                  14   that limiting the introduction of the virus is therefore critical to protecting the health of

                                  15   incarcerated persons; that staff are the primary vector of introducing the virus into a prison; or that

                                  16   testing is ineffective at controlling that vector. In the absence of any evidence suggesting that

                                  17   Defendants’ existing mitigation measures reasonably address this risk, the issue is not whether

                                  18   mandatory vaccines are merely a further step Defendants could take, but whether it would be

                                  19   unreasonable not to take it. See Plata, 445 F. Supp. 3d at 568 (“[T]he question before the Court is

                                  20   not what it thinks is the best possible solution. Rather, the question is whether Defendants’

                                  21   actions to date are reasonable.”). Defendants have disregarded a substantial risk of serious harm

                                  22   “by failing to take reasonable measures to abate it” and are therefore violating Plaintiffs’ Eighth

                                  23   Amendment rights.9 Farmer, 511 U.S. at 847.

                                  24

                                  25
                                       9
                                         Defendants state that they “are not aware of any other prison system in the country that has been
                                       as innovative or proactive in responding to the COVID-19 pandemic and protecting the health and
                                  26   safety of inmates during these unprecedented times.” ECF No. 3660 at 17. While that may be
                                       true in some respects, Defendants are not leaders on the question of protecting incarcerated
                                  27   persons against the introduction of the virus by staff, whom Defendants concede are the primary
                                       sources of exposure. Unlike California, multiple other jurisdictions – including the Federal
                                  28   Bureau of Prisons; the states of Oregon, Washington, Colorado, Illinois and Massachusetts; and
                                       several counties within California, including Orange, San Francisco, Los Angeles, Contra Costa,
                                                                                         18
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                                   1          B.      Narrow Tailoring

                                   2          Having found an Eighth Amendment violation, the Court now considers whether the

                                   3   Receiver’s recommendations present a narrowly tailored remedy. Defendants and CCPOA make

                                   4   several arguments as to why they do not, all of which are unavailing.

                                   5          First, Defendants suggest that a mandatory staff vaccination policy is not narrowly tailored

                                   6   because the best protection for incarcerated persons would come from a mandatory vaccination

                                   7   policy for incarcerated persons. CCPOA also raises this argument, but with respect to deliberate

                                   8   indifference rather than narrow tailoring. No one has disputed that getting vaccinated provides

                                   9   one of the most effective protections against COVID-19. However, neither the Receiver nor any

                                  10   party has recommended that vaccination be required for all incarcerated persons, and so that

                                  11   question is not before the Court. More importantly, as discussed above, Defendants and CCPOA

                                  12   do not contest the continued risk of harm to vaccinated incarcerated persons, nor do they present
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                                  13   any evidence that it would be reasonable not to address the introduction of the virus into the

                                  14   prisons. A policy directed towards vaccination of the incarcerated population, aside from those

                                  15   persons covered by the Receiver’s uncontested recommendation regarding persons who work

                                  16   outside the institution or receive in-person visitation, would not address these issues and therefore

                                  17   would provide no remedy for the identified harm. Nonetheless, because no one disputes the

                                  18   effectiveness of vaccination as a protective measure, the Court directs the Receiver to consider

                                  19   additional efforts to increase the vaccination rate among the incarcerated population, including

                                  20   whether a mandatory vaccination policy should be implemented.

                                  21          Second, Defendants and CCPOA argue that Defendants’ implementation of the August 19

                                  22   CDPH order is a lesser intrusive remedy. For the reasons already discussed, that plan is too

                                  23   limited to reasonably address the substantial risks faced by Plaintiffs. By Defendants’ own

                                  24   admission, the CDPH order was not intended to address the risk of introduction of the virus by

                                  25   staff into the institutions or even to protect the incarcerated population in anything other than

                                  26   healthcare settings. Instead, the order was intended “to protect particularly vulnerable populations

                                  27

                                  28   and Santa Clara – have adopted mandatory vaccination requirements applicable to correctional
                                       staff. ECF No. 3663-1 at 362-431; ECF No. 3674-1 at 256-60.
                                                                                    19
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                                   1   receiving care in health care settings, and ensure a sufficient, consistent supply of workers in high-

                                   2   risk health care settings.” ECF No. 3661 ¶ 12. Thus, although the CDPH order is more narrow

                                   3   and would be less intrusive than the Receiver’s recommendation, it was not intended to and does

                                   4   not reasonably abate the risk of serious harm to Plaintiffs.

                                   5          Third, Defendants and CCPOA argue that existing efforts to increase vaccination among

                                   6   staff are sufficient. However, these efforts “have had minimal success, with the rate of

                                   7   vaccination increasing by just 1% in July (from 52% to 53%) and 2% in August 2021 (from 53%

                                   8   to 55%).” ECF No. 3670-1 ¶ 11. Included as part of the August efforts “was a program of

                                   9   mandatory one-on-one vaccine counseling” through which “5,135 staff members attended a

                                  10   counseling appointment” but only 262 – approximately 5% – agreed to be vaccinated, with 4,385

                                  11   signing “a formal declination, refusing to become vaccinated.” Id. That program “has been halted

                                  12   to redirect resources to complying with the August 19 CDPH order.” Id. Neither Defendants nor
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                                  13   CCPOA offer any evidence suggesting that further voluntary efforts will be any more successful,

                                  14   nor do they contest that “CDCR staff are vaccinated at far too low a rate to reduce the risk of mass

                                  15   outbreaks in CDCR institutions.” ECF No. 3638-1 ¶ 37.

                                  16          In short, none of the alternatives suggested by Defendants or CCPOA would correct the

                                  17   violation of Plaintiffs’ Eighth Amendment rights identified in this order, and the Court concludes

                                  18   that the Receiver’s recommendation “is narrowly drawn, extends no further than necessary to

                                  19   correct the violation of the Federal right, and is the least intrusive means necessary to correct the

                                  20   violation of the Federal right.” 18 U.S.C. § 3626(a)(1)(A).

                                  21          C.      Other Considerations

                                  22          Three other considerations warrant discussion. First, Plaintiffs argued in their initial

                                  23   response that workers who are unvaccinated due to their religious beliefs should not be allowed to

                                  24   enter the prisons. They do not raise this argument in their reply brief, and it is not clear whether

                                  25   they continue to request this relief. In any event, the request is premature, as the manner in which

                                  26   a vaccine mandate might be implemented has not yet been determined – and is something that the

                                  27   Court leaves to the discretion of the Receiver and Defendants in the first instance. Nor does

                                  28   Plaintiffs’ brief discussion of the issue establish that the requested relief is proper under the PLRA.
                                                                                         20
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                                   1          Second, CCPOA asserts that “state unions are entitled to negotiate over the impacts of the

                                   2   CDCR’s decision to implement mandatory vaccinations pursuant to the Ralph C. Dills Act, Cal.

                                   3   Gov’t Code §§ 3512, et seq.” ECF No. 3664 at 12 n.9. Similarly, SEIU argues that “the State . . .

                                   4   has the obligation to negotiate with SEIU over aspects of [a mandatory vaccination] policy that

                                   5   impact matters within the scope of representation before the policy is actually implemented.” ECF

                                   6   No. 3656 at 6 (emphasis omitted). Again, the Court leaves the details of implementation to the

                                   7   Receiver and Defendants in the first instance. The Court also notes that CCPOA is already

                                   8   meeting and conferring with CDCR regarding implementation of the August 19 CDPH order,

                                   9   which was issued without prior collective bargaining, and CCPOA does not contend that this

                                  10   timing violates any provision of state law. ECF No. 3669 at 10. If the Receiver or Defendants

                                  11   believe they cannot comply with the Court’s order without a waiver of state law, they shall file a

                                  12   motion seeking such a waiver that explains why it is permissible under 18 U.S.C. § 3626(a)(1)(B).
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                                  13          Third, although Plaintiffs suggest that the Court “set a date for full compliance” that is

                                  14   “soon,” ECF No. 3674 at 19, the record contains no information on which the Court could base a

                                  15   reasonable compliance deadline, and the Receiver does not request one. Accordingly, the Court

                                  16   does not set a compliance deadline in this order and instead orders the Receiver and Defendants to

                                  17   submit an implementation plan that includes such a deadline.

                                  18                                            CONCLUSION

                                  19          For the foregoing reasons, Defendants and the Receiver shall implement the Receiver’s

                                  20   recommendations that (1) access by workers to CDCR institutions be limited to those workers

                                  21   who establish proof of full COVID-19 vaccination or have established a religious or medical

                                  22   exemption to vaccination and (2) incarcerated persons who desire to work outside of the

                                  23   institution or to have in-person visitation must be fully vaccinated against COVID-19 or establish

                                  24   a religious or medical exemption.10

                                  25          Defendants and the Receiver shall submit an implementation plan, including a deadline by

                                  26   which all covered persons must be vaccinated, within 14 days of the date of this order.

                                  27

                                  28
                                       10
                                         Defendants’ evidentiary objections to photographs submitted with the Hart Declaration and to
                                       one paragraph of the Norman Declaration are overruled. ECF Nos. 3671, 3672.
                                                                                      21
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                                   1          Additionally, the Receiver shall consider efforts to increase the vaccination rate among the

                                   2   incarcerated population, including whether a mandatory vaccination policy should be

                                   3   implemented.

                                   4          IT IS SO ORDERED.

                                   5   Dated: September 27, 2021
                                                                                      ______________________________________
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                                                                                                    JON S. TIGAR
                                   7                                                          United States District Judge

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Northern District of California
 United States District Court




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